                                                        CASE 0:23-cv-00486-JRT-LIB Doc. 110 Filed 01/16/24 Page 1 of 3


  UNITED STATES DISTRICT COURT                                                                   TRANSCRIPT ORDER                                                                            COURT USE ONLY
     DISTRICT OF MINNESOTA                                                 CJA counsel please complete an AUTH24 in CJA eVoucher                                                                  NOTES:
               (Rev. 03/2018)
                                                                                           Please read instructions on next page.

1a. CONTACT PERSON FOR THIS ORDER                                          2a. CONTACT PHONE NUMBER                                                3. CONTACT EMAIL ADDRESS
Emily B. Anderson                                                          (651) 757-1374                                                          emily.anderson@ag.state.mn.us
1b. ATTORNEY NAME (if different)                                           2b. ATTORNEY PHONE NUMBER                                               3. ATTORNEY EMAIL ADDRESS


4. MAILING ADDRESS (INCLUDE LAW FIRM NAME, IF APPLICABLE)                                             5. CASE NAME (Include defendant number, for criminal cases        6. CASE NUMBER
445 Minnesota Street, Suite 1400                                                                      only)                                                             23-cv-00486
St. Paul, MN 55101-2131                                                                               James John Rud v. Nancy Johnston, et al.
                                                                                                      8. THIS TRANSCRIPT ORDER IS FOR (CHECK ALL THAT APPLY):              CJA: Do not use this form; use AUTH24 in CJA.
7. COURT REPORTER NAME, if applicable                                                                 ❐ APPEAL         ❐ CRIMINAL                        ❐ In forma pauperis (NOTE: Court order for TRANSCRIPTS must be
Digital recording before Judge Brisbois 1-8-24 (no court                                              ❐ NON-APPEAL     XX CIVIL
                                                                                                                                                        attached)
reporter named on docket)                                                                                                                               ❐ Standing Order (MDL only)

9. TRANSCRIPT(S) REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested), format(s) & quantity and delivery type:

 a.          HEARING(S) (OR PORTIONS OF HEARINGS)                          b.             SELECT FORMAT(S)                             c.          DELIVERY TYPE
                                                                                          NOTE: ECF access is included.                            Delivery times are not guaranteed.

      DATE          JUDGE                       PORTION                           PDF         TEXT/ASCII      PAPER       CONDENSED     ORDINARY        14-Day      EXPEDITED    EXPEDITED        DAILY      HOURLY       REALTIME
                    (initials)     If requesting less than full hearing,        (email)         (email)                                 (30-day)                     (7-day)      (3-day)       (Next day)    (2 hrs)   (rough draft)
                                  specify portion (e.g. witness or time)


1/8/24          Brisbois                                                          X                                                         X




10. ADDITIONAL COMMENTS, INSTRUCTIONS, QUESTIONS, ETC:



ORDER & CERTIFICATION (11. & 12.) By signing below, I certify that I will pay all charges (deposit plus additional).                                                  12. DATE

11. SIGNATURE                                                                                                                                                         1/16/2024
s/ Emily B. Anderson
                                               CASE 0:23-cv-00486-JRT-LIB Doc. 110 Filed 01/16/24 Page 2 of 3

(Rev. 3/2018)                                                                         INSTRUCTIONS
Use this form to order the transcription of proceedings. CJA counsel please complete an AUTH24 in CJA eVoucher. Before completing this form, please visit
https://www.mnd.uscourts.gov/transcripts-court-reporters-and-digital-audio-recordings for complete transcript ordering information. THESE INSTRUCTIONS SUPPLEMENT THE WEBSITE
INFORMATION.
      1.     Complete a separate order form for each case number for which transcripts are ordered and for each court reporter who reported the proceedings where needed.
      2.     You may contact the Court Reporter before filing if you need a cost estimate. All other communications should go to the Court Reporter Coordinator.
      3.     Complete Items 1-12.
      4.     E-file this form in the U.S. District Court CM/ECF system. Exceptions to e-filing: (a) sealed cases/proceedings; (b) non-parties; (c) pro se parties who are not e-
             filers. In such cases, parties may submit their requests by submitting a paper copy to the Clerk's Office or emailing a copy of this form to
             ecfhelpdesk@mnd.uscourts.gov.
      5.     Prepayment is required unless waived by the Court Reporter. Delivery time is computed from the date the court reporter receives the deposit, authorized CJA 24
             Form, authorization from Federal Public Defender’s Office or, for transcripts ordered by the U.S. government, from the date of receipt of the DCN number.
      6.     The deposit fee is an estimate. Any overage will be refunded; any shortage will be due from you.
                                                                         ITEM-BY-ITEM INSTRUCTIONS (ITEMS 1-12):
Items 1-3       In fields 1a, 2a & 3a, please provide the contact name and information for the person responsible for ordering the transcript. In a law office, this is usually a
                paralegal or administrative assistant, not the attorney. In fields 1b, 2b & 3b, provide the attorney name and contact info, if the attorney is not the contact person.
Items 5-6.      Only one case number may be listed per order.
Item 7.         Visit https://www.mnd.uscourts.gov/transcripts-court-reporters-and-digital-audio-recordings for instructions for determining the name of the court reporter who
                reported the proceeding or if the proceeding was audio recorded. If minutes have not been filed, contact judge’s courtroom deputy.
Item 8.         Check appeal OR non-appeal AND criminal OR civil. In forma pauperis: a court order specifically authorizing TRANSCRIPTS is required before transcripts may be
                ordered in forma pauperis.
Item 9a.        List specific date(s) of the proceedings for which transcript is requested. A transcript of only a portion of a proceeding may be ordered, if the description is clearly
                written to facilitate processing.
Item 9b.        Select desired FORMAT(S) for transcript. There is an additional charge for each format ordered. Visit https://www.mnd.uscourts.gov/transcripts-court-reporters-and-
                digital-audio-recordings for details. ECF access is included at no extra charge.
Item 9c.        There are 6 DELIVERY TYPES to choose from (times are computed from date of receipt of the deposit fee or DCN number). NOTE: Full price may be charged only if
                the transcript is delivered within the required time frame. For example, if an order for expedited transcript is not completed and delivered within 7 calendar days,
                the 14-day delivery rate would be charged. Transcript delivery times are not guaranteed, however, every effort is made to meet requested transcript deadlines.
                  TRANSCRIPT DELIVERY TIMES:
                   ORDINARY ─ 30 calendar days.
                   14-DAY ─ 14 calendar days.
                   EXPEDITED ─ 7 calendar days.
                   EXPEDITED ─ 3 calendar days.
                   DAILY (NEXT DAY) ─ Following adjournment and prior to the normal opening hour of the court on the following morning whether or not it actually is a court day.
                   HOURLY (SAME DAY) ─ A transcript of proceedings ordered under unusual circumstances to be delivered within two (2) hours from receipt of the order.
                  REALTIME ─ A draft unedited transcript produced by a certified realtime reporter as a byproduct of realtime to be delivered electronically during proceedings or
                  immediately following adjournment receipt of the order.
Item 10.           List specific requests relating to the transcript, such as an initial request in an MDL case to create a standing order.
Item 11.          Sign in this space to certify that you will pay all charges (the deposit plus any additional charges.) An electronic or conformed (/s/) signature is acceptable.
Item 12.          Enter the date of signing the order and certification.
CASE 0:23-cv-00486-JRT-LIB Doc. 110 Filed 01/16/24 Page 3 of 3
